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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
                                                     )
  In Re Third Party Subpoena to Fusion GPS           )
                                                     )   Misc. Case No. 1:17-mc-02171
  c/o Zuckerman Spaeder LLP                          )
  1800 M Street, N.W.                                )
  Washington, D.C. 20036                             )
                                                     )
                                                     )

  Aleksej Gubarev, XBT Holding S.A., and             )
  Webzilla, Inc.,                                    )
                    Plaintiffs,                      )
                                                     )   Case No. 17-cv-60426
                         v.                          )
                                                     )
  Buzzfeed, Inc. and Ben Smith,                      )
                                                     )
                    Defendants.                      )


          FUSION GPS’S NOTICE OF CONSENT PURSUANT TO RULE 45(F)

       Fusion GPS, through its undersigned counsel, hereby notifies the Court of its consent to

transfer its Motion to Quash Subpoena Or, In The Alternative, for A Protective Order, ECF No. 1

(“Motion to Quash”), to the issuing court in the Southern District of Florida pursuant to Federal

Rule of Civil Procedure 45(f).

       Fusion seeks a transfer for the following reasons. Given the amount of discovery that has

ensued since Fusion first filed its motion, including depositions that remain under seal, Fusion

believes that the issuing court will be in a better position to determine what, if any discovery

from Fusion is still necessary and what discovery would be duplicative and, therefore, unduly

burdensome.    Furthermore, Fusion has asserted that the discovery sought by the subpoena

implicates its First Amendment rights.      Adjudicating Fusion’s First Amendment privilege
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objections will require balancing Plaintiffs’ purported need for the discovery against Fusion’s

First Amendment claims. The issuing court which is more familiar with the issues in dispute

will be in a better position to undertake this balancing.

       Fusion notes that a transfer will not delay adjudication of its Motion to Quash more than

maintaining the Motion in this Court. Whether the Motion to Quash is transferred or not, Fusion

believes that supplementation about the state of discovery is required for any court to be able to

fairly adjudicate its Motion.

       Accordingly, Fusion respectfully requests that this Court transfer its Motion to Quash to

the Southern District of Florida pursuant to Federal Rule of Civil Procedure 45(f) for

adjudication by the issuing court.


Dated: February 26, 2018                              Respectfully submitted,

                                                      /s/ William W. Taylor, III
                                                      William W. Taylor, III (DC Bar No. 84194)
                                                      Steven M. Salky (DC Bar No. 360175)
                                                      Rachel F. Cotton (DC Bar No. 997132)
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                                                      Attorneys for Non-Party Fusion GPS




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                                CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of February 2018, the foregoing was served on all

counsel of record via CM/ECF.


                                                 /s/ Rachel F. Cotton
                                                 Rachel F. Cotton




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